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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

     UNITED STATES OF AMERICA                        §
                                                     §
     v.                                              §    CRIMINAL NO. 4:09CR197 ALM
                                                     §
     JACOLBY FITZGERALD SIMMONS (3)                  §


                    MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

            Came on for consideration the above-referenced criminal action, this Court having

     heretofore referred the request for revocation of Defendant’s supervised release to the United

     States Magistrate Judge for proper consideration. The Court has received the report of the United

     States Magistrate Judge pursuant to its order. Defendant having waived allocution before this

     Court as well as his right to object to the report of the Magistrate Judge, the Court is of the

     opinion that the findings and conclusions of the Magistrate Judge are correct.

            It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the

     opinion of the Court. It is further ORDERED that Defendant’s supervised release is hereby

     REVOKED. It is further ORDERED that Defendant be committed to the custody of the Bureau

.    of Prisons to be imprisoned for a term of twelve (12) months and one (1) day, with no supervised

     release to follow. The Court further recommends that Defendant’s term of imprisonment be

     carried out in FCI Beaumont, if appropriate.

            IT IS SO ORDERED.

            SIGNED this 3rd day of November, 2016.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
